          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:08CR14


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )            ORDER
                                         )
                                         )
UZZIEL CUEVAS-MENDEZ                     )
                                         )


     THIS MATTER is before the Court on Defendant’s motion for an

order requiring his immediate deportation, filed April 20, 2009.

     The Defendant argues that he is an alien as defined by the statute

and was convicted for a non-violent offense; therefore, he alleges he is

eligible for immediate deportation. As argued by the Government, the

Court has no discretion to provide the requested relief. See

Government’s Response, filed April 23, 2009, at 3 (8 U.S.C. §

1231(a)(4)(B) “makes clear that only the Attorney General, not the

sentencing court, possesses the discretion to deport an alien prior to

the completion of his prison term.” (citing Thye v. United States, 109




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F.3d 127, 128 (2d Cir. 1997)). For the reasons stated in the Government’s

response, the Defendant’s motion is denied.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion for

immediate deportation is DENIED.

                                     Signed: May 14, 2009




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